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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 ENERRA CORPORATION,                                            Civil Action No. 3:23-cv-194-L

                                 Plaintiff,

         vs.

 CONTI GROUP LLC, PLASTIKGAS LLC,
 ROBERTO CONTI, JULIE CONTI, JORDAN
 CONTI,

                                 Defendants.


 CONTI GROUP, LLC,

                                 Counter-Plaintiff,

         vs.

 ENERRA CORPORATION, SERGIO PEREZ,
 MARK MILLS AND MICHAEL BROWN,

                                  Third-Party
                                  Defendants.


                       ORDER GRANTING MOTION FOR EXTENSION

         This Court has reviewed Counter-Plaintiff Conti Group, LLC and Counter-Defendants

 Sergio Perez, Mark Mills, and Michael Brown’s Agreed Motion for Extension of Time to Conduct

 Jurisdictional Discovery. [Doc. 50]

         This Court grants Counter-Plaintiff and Counter-Defendants’ Agreed Motion for Extension

 of Time to Conduct Jurisdictional Discovery and provides the following extension:

All jurisdictional discovery must be completed by January 8, 2024, and any motion raising a dispute that
may arise regarding this jurisdictional discovery must be filed by January 2, 2024. Counter-Plaintiff Conti
Group, LLC must file any sur-reply to the Motion to Dismiss, based on the results of these discovery efforts,
by January 29, 2024, and Counter-Defendants must file any sur-sur-reply by February 12, 2024. No further
extensions will be granted.
         It is so ordered this 10th day of October 2023.
                                                                ______________________
                                                                David L. Horan
                                                                United States Magistrate Judge
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